              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:16-cv-00360-MR
                [Criminal Case No. 1:08-cr-00082-MR-1]


VINCENT LAMAR BOULWARE, )
                            )
     Petitioner,            )
                            )
           vs.              )             MEMORANDUM OF
                            )             DECISION AND ORDER
UNITED STATES OF AMERICA, )
                            )
     Respondent.            )
___________________________ )

     THIS MATTER is before the Court on Petitioner’s Motion under 28,

United States Code, Section 2255 to Vacate, Set Aside, or Correct Sentence

by a Person in Federal Custody [Doc. 1]. For the reasons that follow, the

Court dismisses the petition.

                         PROCEDURAL HISTORY

     Petitioner pleaded guilty to three counts of bank robbery and was

sentenced to a total of 188 months’ imprisonment. [Criminal Case No. 1:08-

cr-00082-MR (“CR”), Doc. 97: Judgment]. Petitioner appealed, and on June

15, 2011, the Fourth Circuit dismissed the appeal in part and affirmed in part

the judgment of this Court. [CR Doc. 125].




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      Petitioner placed the instant petition in the prison mailing system on

October 27, 2016, and it was stamp-filed in this Court on October 31, 2016.

[Doc. 1]. As his sole claim in his Section 2255 petition, Petitioner contends

that Amendment 794 to U.S.S.G. § 3B1.2 makes him eligible for a minor role

adjustment to his sentence. [Id. at 4].

                           STANDARD OF REVIEW

      Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions to

vacate, along with “any attached exhibits and the record of prior proceedings”

in order to determine whether a petitioner is entitled to any relief. After

having considered the record in this matter, the Court finds that no response

is necessary from the United States. Further, the Court finds that this matter

can be resolved without an evidentiary hearing. See Raines v. United States,

423 F.2d 526, 529 (4th Cir. 1970).

                                  DISCUSSION

      Petitioner is not entitled to relief under Section 2255. Here, the claim

Petitioner purports to raise is in substance one of sentencing relief under 18

U.S.C. § 3852, based on a retroactive amendment to the sentencing

guidelines, and Petitioner must seek such relief on this claim, if at all, by filing

a motion in his criminal case. See United States v. Jones, 143 F. App’x 526,


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527 (4th Cir. 2005) (holding that the district court erred in construing the

petitioners’ motions under 18 U.S.C. § 3582(c)(2) for reductions in sentence

based on retroactive application of Amendment 591 as Section 2255

motions); Ono v. Pontesso, No. 98-15124, 1998 WL 757068, at *1 (9th Cir.

Oct. 26, 1998) (noting that a request for a modification of a sentence

pursuant to an Amendment to the Sentencing Guidelines “is most properly

brought as a motion under 18 U.S.C. § 3582”); see also United States v.

Mines, No. 3:09-cr-106-HEH, 2015 WL 1349648, at *1 (E.D. Va. Mar. 4,

2015) (stating that, to the extent that the petitioner “seeks a reduction in

sentence pursuant to any amendment to the United States Sentencing

Guidelines, he must file a separate motion for reduction of sentence pursuant

to 18 U.S.C. § 3582”). Thus, the Court will dismiss this action without

prejudice to Petitioner to bring a motion for reduction of sentence in his

underlying criminal action.1




1  Alternatively, even if the relief sought here were properly brought through a Section
2255 motion to vacate, Petitioner has already filed one Section 2255 motion to vacate,
which this Court denied and dismissed with prejudice on the merits. [CR Docs. 127, 134].
Thus, even if his claim were properly brought under Section 2255, it would appear to be
an unauthorized successive petition.
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                                CONCLUSION

      For the reasons stated herein, the Court will dismiss the Section 2255

petition without prejudice to Petitioner to file a motion for a sentence

reduction in his criminal action.

      The Court finds that the Petitioner has not made a substantial showing

of a denial of a constitutional right. See generally 28 U.S.C. § 2253(c)(2);

see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy

§ 2253(c), a “petitioner must demonstrate that reasonable jurists would find

the district court’s assessment of the constitutional claims debatable or

wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85 (2000)). Petitioner

has failed to demonstrate both that this Court’s dispositive procedural rulings

are debatable, and that his Motion to Vacate states a debatable claim of the

denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484-85

(2000). As a result, the Court declines to issue a certificate of appealability.

See Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.

                                    ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate

[Doc. 1] is DISMISSED WITHOUT PREJUDICE.




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      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.         Signed: November 28, 2016




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